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                                 UNITED STATES DISTRICT COURT

                                   DISTRICT OF MARYLAND
   CHAMBERS OF
    Paula Xinis                                                                           6500 Cherrywood Lane
UNITED STATES DISTRICT JUDGE                                                                  Greenbelt, MD 20770
                                                                                                    (301) 344-0653



                                              August 28, 2018

              Re:    15-3940, RoyaltyStat, LLC v. IntangibleSpring Corp., et al.

                                           LETTER ORDER

      This letter order memorializes the Court’s orders in yesterday’s scheduling conference call.

      Briefing on RoyaltyStat, LLC’s proposed second amended complaint (ECF Nos. 94, 95)
      Defendants may file their opposition by letter pleading not to exceed three (3) pages, exclusive
      of exhibits, on or before August 31, 2018. RoyaltyStat, LLC, may file a reply by letter pleading
      also not to exceed three (3) pages, exclusive of exhibits, on or before September 4, 2018.

      Amended Scheduling Deadlines (ECF No. 86). The request for extension of time to complete
      discovery (ECF No. 86) is GRANTED. The new deadlines are:

                     Close of discovery                            October 29, 2018
                     Requests for admissions                       October 29, 2018
                     Dispositive pretrial motions                  November 12, 2018

      By August 31, 2018, the parties shall submit a joint proposed scheduling order with additional,
      intermediate deadlines, to include milestone dates to exchange electronically stored information
      and inspect relevant databases. The court will not grant additional extensions absent a showing
      of extraordinary circumstances.

      Although informal, this correspondence constitutes an Order of the Court and shall be docketed
      as such.

                                           Sincerely,

                                           ______/S/___________________
                                           PAULA XINIS
                                           United States District Judge
